Case 2:03-cr-20459-.]PI\/| Document 126 Filed 05/18/05 Page 1 of 2 Page|D 187

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 03-20459-Ml

WILLIAM NOBLES
Defendant.

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ORDER ON CHANGE OF PLEA

 

This cause same on to be heard on May 12, 2005, the United States
Attorney for this district, David Henry, appearing for the Government
and the defendant, William Nobles, appearing in person and with counsel,
Lee Gerald, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 1 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for MONDAY, AUGUST 15, 2005, at 8:45
a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U- S. Marshal.

ENTERED this the 13 day of May, 2005.

mwlm

JON PHIPPS MCCALLA
UN ED STATES DISTRICT COURT

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Honorable J on McCalla
US DISTRICT COURT

